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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MISSOURI
                                    EASTERN DIVISION

UNITED STATES OF AMERICA,                      )
                                               )
    Plaintiff,                                 )
                                               )
          v.                                   )     No.      1:17CV00101 SNLJ
                                               )
APPROXIMATELY SIXTY-EIGHT                      )
THOUSAND, SIX HUNDRED AND                      )
SEVENTY-FIVE DOLLARS ($68,675.00)              )
U.S. CURRENCY; and                             )
                                               )
RUGER P95 PISTOL, 9 CALIBER,                   )
SERIAL NO. 31890141;                           )
                                               )
               Defendants.                     )

                             DEFAULT JUPGMENT OF FORFEITURE
                                                              , pursuant to Rule 55(b)(2) of the
      Plaintiff, United States of America has moved this Court
                                                            ent by Default. Plaintiff has shown
 Federal Rules of Civil Procedure, for entry of Final Judgm
                                                                property. The Clerk of the Court has
 that there was reasonable cause for seizure of the defendant

 entered a default in this action. Therefore, it is hereby,

       ORDERED, ADJUDGED AND DECREED:
                                                                            dant property;
       (1) That a judgm ent by default is hereby entered ag~nst
                                                                the defen

                                                                     or to the defendant property are
       (2) That all persons claiming any right, title or interest in

 held in default;
                                                                  Unite   d States of America; and
       (3) That the defendant property is hereby forfeited to the
                                                                to law.
       (4) That the defendant property be disposed of according




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      IT IS FURTH ER ORDERED, FOUND AND CERTIFIED:
                                                                                         existed
      (5) That, pursuant to Title 28, United States Code, Section 2465, reasonable cause

for the seizure of the defendant property.


 SO ORDERED:



 HONO RABLE STEPH EN N. LIMBAUGH, JR.
 UNITED STATES DISTRICT JUDGE


 Dated this I fflt day of   °TfJ.ft' ' ,2019.




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